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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

KEYME, LLC,                                      )
                                                 )
                      Plaintiff,                 )
       v.                                        )   C.A. No. __________________
                                                 )
THE HILLMAN GROUP, INC.,                         )   JURY TRIAL DEMANDED
                                                 )
                      Defendant.                 )


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff KeyMe, LLC (“Plaintiff” or “KeyMe”) asserts claims against Defendant The

Hillman Group, Inc. (“Defendant” or “Hillman”) for infringement of U.S. Patent No. 8,682,468

(“the ’468 Patent”). KeyMe alleges as follows:

                                   NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

                                         THE PARTIES

       2.      KeyMe is a limited liability company organized and existing under the laws of

Delaware, having a principal place of business at 5 Penn Plaza, New York, New York 10001.

       3.      Upon information and belief, Hillman is a corporation organized and existing

under the laws of Delaware that maintains its principal place of business at 10590 Hamilton

Avenue, Cincinnati, Ohio 45231.

                                   JURISDICTION AND VENUE

       4.      This is an action for patent infringement in violation of the Patent Act of the

United States, 35 U.S.C. § 1 et seq.
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        5.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).

        6.       Hillman is subject to this Court’s specific and general personal jurisdiction

pursuant to Hillman’s substantial business in this forum, including: (i) at least a portion of the

infringements alleged herein; (ii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, and/or deriving substantial revenue from goods and services

provided to individuals in Delaware and in this judicial district; and (iii) being incorporated in

this District.

        7.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b) because

Hillman resides in this District under the Supreme Court’s opinion in TC Heartland v. Kraft

Foods Group Brands LLC, 137 S. Ct. 1514 (2017) through its incorporation in Delaware.

                                          BACKGROUND

    A. KeyMe and Its Key Duplication Technology

        8.       KeyMe was founded in 2012 as a company specializing in using technology to

duplicate keys. It has continued to grow and expand each year since its founding.

        9.       KeyMe gives consumers the technology to create digital copies of their keys so

that consumers can readily duplicate their key when the consumer loses access to their key (such

as by misplacing the key or by getting locked out of their house or vehicle).

        10.      KeyMe has established thousands of self-service kiosks around the country that

consumers can use to create digital copies of their keys, and create a physical duplicate of their

key based on the digital copy.

        11.      More specifically, using 3D imaging and algorithms, KeyMe’s technology allows

a consumer to scan their physical key at a KeyMe kiosk, which then creates and uploads a digital




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copy to the cloud. The consumer can later access this digital copy at the same or a different

KeyMe kiosk and print a physical duplicate of the key at the kiosk.

       12.     KeyMe obtained several patents covering its key duplication technology,

including the ’468 Patent.

   B. The ’468 Patent

       13.     On March 25, 2014, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ’468 Patent, entitled “Systems and Methods for Duplicating Keys,”

after a full and fair examination. The ’468 Patent is attached hereto as Exhibit A and is

incorporated herein as if fully rewritten.

       14.     KeyMe is the assignee and owner of the right, title, and interest in and to the ’468

Patent. KeyMe has the right to assert all causes of action arising under the ’468 Patent and the

right to any remedies for infringement of it.

       15.     The ’468 Patent is valid, enforceable, and duly issued in full compliance with

Title 35 of the United States Code.

       16.     The ’468 Patent is generally directed to systems and methods involving scanning

a key to create a digital copy of the key, storing the digital copy of the key, and creating a

physical copy of the key based on the stored digital copy. As part of these inventions, the

patented systems and methods use various security features to protect the digital copies of the

keys. As well, the ’468 Patent discloses the use of an application (such as on a smartphone or

tablet computer) to perform (at least parts of) the patented systems and methods.

   C. The Accused Product

       17.     Hillman makes, uses, sells, and/or offers for sale systems and methods that create

a digital copy of a key that is stored and can later be used to print a physical duplicate of that




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key. At a basic level, these systems and methods use (i) a kiosk with (ii) an application-based

system to store digital copies of keys.

        18.     Upon information and belief, in collaboration with UniKey Technologies, Inc.

(“UniKey”), Hillman makes, uses, sells, and/or offers for sale KeyHero. KeyHero is an

application-compatible system that uses Hillman’s KeyKrafter kiosks and MinuteKey kiosks to

create a digital copy of a key, store the digital copy, and later use the digital copy to print a

physical copy of the key.

        19.     More specifically, upon information and belief, Hillman’s KeyHero system

involves Hillman’s KeyKrafter kiosk scanning and measuring the user’s key to create a digital

copy of the key. KeyHero then stores the digital copy, and sends it to the user’s smartphone

application. The user can later use one of Hillman’s KeyKrafter kiosks to print a physical

duplicate of their key based on the stored digital copy. See https://www.mykeyhero.com/.

        20.     KeyHero is also compatible with MinuteKey kiosks. See

https://www.minutekey.com/green/#. Upon information and belief, the MinuteKey kiosks have

the same function and operation as the KeyKrafter kiosks in relation to the KeyHero system.




https://www.minutekey.com/green/#




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https://www.minutekey.com/green/# (including a link to the KeyHero website)

       21.     Hillman’s KeyHero system thus works in conjunction with Hillman’s KeyKrafter

kiosks and MinuteKey kiosks to create a digital copy of a key, store the digital copy, and later

print a physical duplicate of the key. This combination of Hillman’s KeyHero system with

Hillman’s KeyKrafter or MinuteKey kiosks (the “Accused Product”) infringes the ’468 Patent.

       22.     Upon information and belief, Hillman collaborates with UniKey to make, use,

sell, and/or offer for sale the Accused Product.

       23.     Upon information and belief, Hillman is the chief actor in making, using, selling,

and/or offering for sale the Accused Product. As well, Hillman conveys to the public that it

controls the Accused Product.

       24.     For example, the KeyHero website has Hillman’s copyright stamp.




       https://www.mykeyhero.com/

       25.     Additionally, the KeyHero website describes Hillman as the controlling and

original mastermind of KeyHero. On KeyHero’s “About Us” page, the “KeyHero team” is


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described from Hillman’s perspective. For example, the KeyHero website states, “The Hillman

Group is the leader in key duplication technology with over 50 years’ experience in the hardware

industry. Our heritage is built on unsurpassed key expertise, quality, service, and user

satisfaction. When we started to develop this concept at The Hillman Group we knew we needed

a counterpart that could bring phone application and digital security expertise to the project.

That’s where our great partners at UniKey became part of the KeyHero™ team.”

https://www.mykeyhero.com/about-us/ (emphasis added).

       26.     Thus, upon information and belief, Hillman directs and controls the Accused

Product, including UniKey’s role in relation to the Accused Product.

       27.     As a result, Hillman is fully and independently liable for the Accused Product’s

infringement of the ’468 Patent.

       28.     Alternatively, if Hillman does not direct or control UniKey in regards to the

Accused Product, upon information and belief, Hillman and UniKey are joint partners where

each has an equal right of control. For example, the KeyHero website describes Hillman and

UniKey as “partners.” https://www.mykeyhero.com/about-us/; see also




       https://www.mykeyhero.com/about-us/

       29.     As a result of any such joint infringement, Hillman is fully and independently

liable for the Accused Product’s infringement of the ’468 Patent.

       30.     The Accused Product infringes the ’468 Patent as set forth in below.

                   COUNT I – INFRINGEMENT OF THE ’468 PATENT

       31.     Plaintiff realleges and incorporates by reference all of the allegations set forth in

the preceding Paragraphs.


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       32.     Upon information and belief, in violation of 35 U.S.C. § 271, Hillman has and

continues to directly and indirectly infringe, literally and under the doctrine of equivalents, at

least claims 1, 16, 19, and 34 of the ’468 Patent by making, using, selling, offering for sale,

and/or providing and causing to be used the Accused Product.

       33.     Claim 1 of the ’468 Patent claims a system for creating keys, the system

comprising:

               a first kiosk comprising:

                       a key scanner that captures first geometric information about a first key
                       and captures second geometric information about a second key; and

                       a first hardware processor that:

                               receives first security information specified by a first particular
                               user and identifying the first particular user;

                               automatically determines a key type of the first key from a
                               plurality of known key types based on the captured geometric
                               information about the first key;

                               automatically determines bit heights of the first key based on the
                               captured geometric information about the first key;

                               causes the first geometric information, including the key type of
                               the first key and the bit heights of the first key, and first identifying
                               information based on the first security information to be stored at a
                               remote storage device;

                               receives second security information specified by a second
                               particular user and identifying the second particular user;

                               automatically determines a key type of the second key from the
                               plurality of known key types based on the captured geometric
                               information about the second key;

                               automatically determines bit heights of the first key based on the
                               captured geometric information about the second key; and

                               causes the second geometric information, including the key type of
                               the second key and the bit heights of the second key, and second



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                        identifying information based on the second security information
                        to be stored at a remote storage device;

          a second kiosk comprising:

                 a second hardware processor that:

                        receives third security information, wherein the third security
                        information corresponds to the first identifying information but not
                        the second identifying information;

                        verifies that the third security information corresponds to the first
                        identifying information;

                        identifies first stored geometric information about one or more
                        keys that can be made in response to verifying that the third
                        security information corresponds to the first security information,
                        wherein the first stored geometric information includes the first
                        geometric information but does not include the second geometric
                        information; and

                        receives the first geometric information from the remote storage
                        device based on the verification that the third security information
                        corresponds to the first security information; and

                 a first key shaping device that creates a third key using the first geometric
                 information, including the key type of the first key and the bit heights of
                 the first key; and

          a third kiosk comprising:

                 a third hardware processor that:

                        receives fourth security information, wherein the fourth security
                        information corresponds to the second identifying information but
                        not the third identifying information;

                        verifies that the fourth security information corresponds to the
                        second identifying information;

                        identifies second stored geometric information about one or more
                        keys that can be made in response to verifying that the fourth
                        security information corresponds to the second security
                        information, wherein the second stored geometric information
                        includes the second geometric information but does not include the
                        first geometric information; and



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                             receives the second geometric information from the remote storage
                             device based on the verification that the fourth security
                             information corresponds to the second security information; and

                      a second key shaping device that creates a fourth key using the second
                      geometric information, including the key type of the second key and the
                      bit heights of the second key.

       34.    The Accused Product contains each of the above limitations.

       35.    The Accused Product is a system that creates keys.




       https://www.mykeyhero.com/

       36.    The Accused Product contains a first kiosk with a key scanner that captures

geometric information about a first key and captures geometric information about a second key.

As shown below, the user puts their key into the KeyKrafter kiosk so that a scanner can capture

the key’s geometric information.




       https://www.mykeyhero.com/




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     https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)




     https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




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       https://www.mykeyhero.com/how-to/

       37.    Likewise, the user can put their key into the MinuteKey kiosk so that a scanner

can capture the key’s geometric information.




       https://www.mykeyhero.com/




       https://www.minutekey.com/ (MinuteKey)




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        https://www.mykeyhero.com/how-to/

        38.     Upon information and belief, the Accused Product’s first kiosk contains a

hardware processor.

        39.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk receives security information specified by a first particular user that identifies this first

user. As shown below, the user enters security information into the KeyKrafter kiosk to identify

the user.




        https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI

       40.     As shown below, a user likewise enters security information into the MinuteKey

kiosk with KeyHero compatibility to identify the user.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       41.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk automatically determines a key type of the first key from a plurality of known key

types based on the captured geometric information about the first key. As shown below, the

KeyKrafter kiosk determines the key type after the key is inserted into the machine.




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       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)

       42.    Likewise, the MinuteKey kiosk determines the key type after the key is inserted

into the machine.




       https://www.minutekey.com/ (MinuteKey)




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)


       43.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk automatically determines bit heights of the first key based on the captured geometric

information about the first key. As shown below, on information and belief the KeyKrafter kiosk

determines the bit heights of the key as evidenced by the fact that the kiosk later cuts a physical

copy of the key based on digital information.




       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.mykeyhero.com/

       44.     Likewise, the MinuteKey kiosk determines the key’s bit heights after the key is

inserted into the machine.




       https://www.minutekey.com/ (MinuteKey)



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       45.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk causes the first geometric information, including the first key’s key type and bit

heights, and the identifying information based on the first security information to be stored at a

remote storage device. As shown below, the KeyHero system stores, on servers, the digital keys

created from the KeyKrafter and MinuteKey kiosks that work in conjunction with the KeyHero

system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html

       46.     The hardware processor of the Accused Product’s first kiosk receives second

security information specified by a second particular user that identifies this second particular

user. As shown below, a user enters security information into the KeyKrafter kiosk to identify

the user.




       https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI

       47.     As shown below, a user likewise enters security information into the MinuteKey

kiosk compatible with KeyHero to identify the user.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       48.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk automatically determines a key type of the second key from the plurality of known

key types based on the captured geometric information about the second key. As shown below,

the KeyKrafter kiosk determines the key type after the key is inserted into the machine.




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       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)

       49.    Likewise, the MinuteKey kiosk determines the key type after the key is inserted

into the machine.




       https://www.minutekey.com/ (MinuteKey)




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         (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

         50.    Upon information and belief, the hardware processor of the Accused Product’s

first kiosk automatically determines bit heights of the second1 key based on the captured

geometric information about the second key. As shown below, on information and belief the

KeyKrafter kiosk determines the bit heights of the key as evidenced by the fact that the kiosk

later cuts a physical copy of the key based on digital information.




1
  This claim element contains a typographical error. The claim element currently states,
“…automatically determines bit heights of the first key based on the captured geometric
information about the second key” (italics added). The language of “first key” should state
“second key” so that the claim element reads “…automatically determines bit heights of the
second key based on the captured geometric information about the second key” (correction in
italics). KeyMe expects that this error will be remedied during claim construction. Thus, KeyMe
applies the correct reading of the claim element here.


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       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.mykeyhero.com/

       51.     Likewise, the MinuteKey kiosk determines the key’s bit heights after the key is

inserted into the machine.



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       https://www.minutekey.com/ (MinuteKey)

       52.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk causes the second geometric information, including the second key’s key type and bit

heights, and the identifying information based on the second security information to be stored at

a remote storage device. As shown below, the KeyHero system stores, on servers, the digital

keys created from the KeyKrafter and MinuteKey kiosks that work in conjunction with the

KeyHero system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html

       53.     The Accused Product contains a second kiosk that has a hardware processor. As

shown below, the KeyHero system works with and among multiple kiosks at a variety of

locations.




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       https://www.mykeyhero.com/




       https://www.mykeyhero.com/faq/if-i-back-up-my-keys-at-one-location-can-i-cut-them-
       at-a-different-merchant-store.html

       54.     The hardware processor of the Accused Product’s second kiosk receives third

security information, wherein the third security information corresponds to the first identifying

information but not the second identifying information. As shown below, a specific KeyKrafter

kiosk is paired with a user’s personal KeyHero application using a secure pin number that

ensures the kiosk identifies the correct user and digital key copy.




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     https://www.youtube.com/watch?v=G2FP2r90chI




     https://www.youtube.com/watch?v=G2FP2r90chI




     https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI

       55.     Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       56.     Upon information and belief, the hardware processor of the Accused Product’s

second kiosk verifies that the third security information corresponds to the first identifying




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information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




        https://www.youtube.com/watch?v=G2FP2r90chI

        57.      Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.




        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        58.      Upon information and belief, the hardware processor of the Accused Product’s

second kiosk identifies first stored geometric information about one or more keys that can be

made in response to verifying that the third security information corresponds to the first security


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information, wherein the first stored geometric information includes the first geometric

information but does not include the second geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




       https://www.youtube.com/watch?v=G2FP2r90chI

       59.     Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




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       60.     Upon information and belief, the hardware processor of the Accused Product’s

second kiosk receives the first geometric information from the remote storage device based on

the verification that the third security information corresponds to the first security information.

As shown below, the kiosk receives the digital key’s geometric information as evidenced by the

fact that the kiosk cuts a physical duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI




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       61.     The MinuteKey kiosk likewise receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




       https://www.minutekey.com/ (MinuteKey)

       62.     The Accused Product’s second kiosk contains a first key shaping device that

creates a third key using the first geometric information, including the first key’s key type and bit

heights. As shown below, the KeyKrafter kiosk cuts a physical duplicate of the key.




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       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

       63.    Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




       https://www.minutekey.com/ (MinuteKey)

       64.    The Accused Product contains a third kiosk that has a hardware processor. As

shown below, the KeyHero system works with and among multiple kiosks at a variety of

locations.




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       https://www.mykeyhero.com/




       https://www.mykeyhero.com/faq/if-i-back-up-my-keys-at-one-location-can-i-cut-them-
       at-a-different-merchant-store.html

       65.     The hardware processor of the Accused Product’s third kiosk receives fourth

security information, wherein the fourth security information corresponds to the second

identifying information but not the third identifying information. As shown below, a specific

KeyKrafter kiosk is paired with a user’s personal KeyHero application using a secure pin number

that ensures the kiosk identifies the correct user and digital key copy.




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     https://www.youtube.com/watch?v=G2FP2r90chI




     https://www.youtube.com/watch?v=G2FP2r90chI




     https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI

       66.     Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       67.     Upon information and belief, the hardware processor of the Accused Product’s

third kiosk verifies that the fourth security information corresponds to the second identifying




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information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




        https://www.youtube.com/watch?v=G2FP2r90chI

        68.      Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.




        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        69.      Upon information and belief, the hardware processor of the Accused Product’s

third kiosk identifies second stored geometric information about one or more keys that can be



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made in response to verifying that the fourth security information corresponds to the second

security information, wherein the second stored geometric information includes the second

geometric information but does not include the first geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




       https://www.youtube.com/watch?v=G2FP2r90chI

       70.     Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       71.     Upon information and belief, the hardware processor of the Accused Product’s

third kiosk receives the second geometric information from the remote storage device based on

the verification that the fourth security information corresponds to the second security

information. As shown below, the kiosk receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI



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       72.      The MinuteKey kiosk likewise receives the digital key’s geometric information

as evidenced by the fact that the kiosk cuts a physical duplicate of the key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




       https://www.minutekey.com/ (MinuteKey)

       73.     The Accused Product’s third kiosk contains a second key shaping device that

creates a fourth key using the second geometric information, including the second key’s key type

and bit heights. As shown below, the KeyKrafter kiosk cuts a physical duplicate of the key.




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      https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

      74.     Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




      https://www.minutekey.com/ (MinuteKey)

      75.     Claim 16 of the ’468 Patent claims a system for creating keys, the system

comprising:

              a computing device comprising:

                     a storage device; and

                     a first hardware processor that:

                            receives first geometric information about a first key from a first
                            source, wherein the first geometric information includes a first key
                            type of the first key and first bit heights of the first key determined


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                          based on geometric information about the first key captured at the
                          first source;

                          receives first identifying information identifying a first particular
                          user based on first security information specified by the first
                          particular user in connection with the first geometric information;

                          causes the first geometric information and the first identifying
                          information to be stored at the storage device;

                          receives second geometric information about a second key from a
                          second source, wherein the second geometric information includes
                          a second key type of the second key and second bit heights of the
                          second key determined based on geometric information about the
                          second key captured at the second source;

                          receives second identifying information identifying a second
                          particular user based on second security information specified by
                          the second particular user in connection with the second geometric
                          information; and

                          causes the second geometric information and the second
                          identifying information to be stored at the storage device;

           a first kiosk comprising:

                  a first communication network interface; and

                  a second hardware processor that:

                          receives third security information, wherein the third security
                          information corresponds to the first identifying information but not
                          the second identifying information;

                          verifies that the third security information corresponds to the first
                          identifying information;

                          identifies first stored geometric information about one or more
                          keys that can be made in response to verifying that the third
                          security information corresponds to the first security information,
                          wherein the first stored geometric information includes the first
                          geometric information but does not include the second geometric
                          information; and

                          receives the first geometric information from the storage device
                          using the first communication network interface based on the



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                         verification that the third security information corresponds to the
                         first security information; and

                  a first key shaping device that creates a third key based on the first
                  geometric information, including the first key type and the first bit heights;
                  and

           a second kiosk comprising:

                  a second communication network interface;

                  a third hardware processor that:

                         receives fourth security information, wherein the fourth security
                         information corresponds to the second identifying information but
                         not the first identifying information;

                         verifies that the fourth security information corresponds to the
                         second identifying information;

                         identifies second stored geometric information about one or more
                         keys that can be made in response to verifying that the fourth
                         security information corresponds to the second security
                         information, wherein the second stored geometric information
                         includes the second geometric information but does not include the
                         first geometric information; and

                         receives the second geometric information from the storage device
                         using the second communication network interface based on the
                         verification that the fourth security information corresponds to the
                         second security information; and

                  a second key shaping device that creates a fourth key based on the second
                  geometric information, including the second key type and the second bit
                  heights.

     76.   The Accused Product contains each of the above limitations.

     77.   The Accused Product is a system for creating keys.




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       https://www.mykeyhero.com/

       78.     The Accused Product contains a computing device that is comprised of a storage

device and a first hardware processor. As shown below, the Accused Product requires use of a

kiosk and servers, both of which, upon information and belief, require a processor and include

memory.




       https://www.mykeyhero.com/security/




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html

       79.     Upon information and belief, the hardware processor of the Accused Product’s

computing device receives first geometric information about a first key from a first source,

wherein the first geometric information includes a first key’s key type and bit heights determined

based on geometric information about the first key captured at the first source. As shown below,

the user puts their key into the KeyKrafter kiosk so that a scanner can capture the key’s

geometric information, which includes the key’s key type and bit heights as a physical duplicate



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of the key is later cut based on this received geometric information. Upon information and belief,

this geometric information is received by the server processor.




       https://www.mykeyhero.com/




       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)




       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)


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       https://www.youtube.com/watch?v=G2FP2r90chI

       80.     Likewise, the user can put their key into the MinuteKey kiosk so that a scanner

can capture the key’s geometric information, which on information and belief is received by the

server processor.




       https://www.mykeyhero.com/




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       https://www.minutekey.com/ (MinuteKey)




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       81.     The hardware processor of the Accused Product’s computing device receives first

identifying information identifying a first particular user based on first security information

specified by the first particular user in connection with the first geometric information. As shown

below, the user enters information into the KeyKrafter kiosk to identify the user. Upon

information and belief, this identifying information is received by the Accused Product’s server

processor.




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       82.     As shown below, a user likewise enters information into the MinuteKey kiosk

with KeyHero compatibility to identify the user. Upon information and belief, this identifying

information is received by the Accused Product’s server processor.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       83.     The hardware processor of the Accused Product’s computing device causes the

first geometric information and the first identifying information to be stored at the storage



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device. As shown below, the KeyHero system stores, on servers, the digital keys created from

the KeyKrafter and MinuteKey kiosks that work in conjunction with the KeyHero system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html

       84.     Upon information and belief, the hardware processor of the Accused Product’s

computing device receives second geometric information about a second key from a second

source, wherein the second geometric information includes a second key’s key type and bit

heights determined based on geometric information about the second key captured at the second

source. As shown below, the user puts their key into the KeyKrafter kiosk so that a scanner can

capture the key’s geometric information, which includes the key’s key type and bit heights as a

physical duplicate of the key is later cut based on this received geometric information. Upon

information and belief, this geometric information is received by the server processor.




       https://www.mykeyhero.com/




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     https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)




     https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




     https://www.youtube.com/watch?v=G2FP2r90chI



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       85.     Likewise, the user can put their key into the MinuteKey kiosk so that a scanner

can capture the key’s geometric information, which on information and belief is received by the

server processor.




       https://www.mykeyhero.com/




       https://www.minutekey.com/ (MinuteKey)




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




       https://www.mykeyhero.com/how-to/

       86.    The hardware processor of the Accused Product’s computing device receives

second identifying information identifying a second particular user based on second security

information specified by the second particular user in connection with the second geometric

information. As shown below, a user enters information into the KeyKrafter kiosk to identify the

user. Upon information and belief, this identifying information is received by the Accused

Product’s server processor.




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       87.     As shown below, a user likewise enters information into the MinuteKey kiosk

with KeyHero compatibility to identify the user. Upon information and belief, this identifying

information is received by the Accused Product’s server processor.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       88.    The hardware processor of the Accused Product’s computing device causes the

second geometric information and the second identifying information to be stored at the storage

device. As shown below, the KeyHero system stores, on servers, the digital keys created from

the KeyKrafter and MinuteKey kiosks that work in conjunction with the KeyHero system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html

       89.    The Accused Product contains a first kiosk comprised of a first communication

network interface and a second hardware processor. The KeyKrafter kiosk has an interface that

allows communication.




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     https://www.youtube.com/watch?v=NVbxayF26uA (KeyKrafter)




     https://www.mykeyhero.com/faq/if-i-back-up-my-keys-at-one-location-can-i-cut-them-
     at-a-different-merchant-store.html




     https://www.mykeyhero.com/faq/what-happens-if-there-is-limited-or-no-cellular-
     connection-to-the-keykrafter.html

     90.    Likewise, the MinuteKey kiosk has an interface that allows communication.




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       https://www.minutekey.com/ (MinuteKey)




       https://www.mykeyhero.com/faq/if-i-back-up-my-keys-at-one-location-can-i-cut-them-
       at-a-different-merchant-store.html


       91.     The hardware processor of the Accused Product’s first kiosk receives third

security information, wherein the third security information corresponds to the first identifying

information but not the second identifying information. As shown below, a specific KeyKrafter

kiosk is paired with a user’s personal KeyHero application using a secure pin number that

ensures the kiosk identifies the correct user and digital key copy.




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     https://www.youtube.com/watch?v=G2FP2r90chI




     https://www.youtube.com/watch?v=G2FP2r90chI




     https://www.youtube.com/watch?v=G2FP2r90chI



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       https://www.youtube.com/watch?v=G2FP2r90chI

       92.     Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       93.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk verifies that the third security information corresponds to the first identifying



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information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




        https://www.youtube.com/watch?v=G2FP2r90chI

        94.      Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.




        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        95.      Upon information and belief, the hardware processor of the Accused Product’s

first kiosk identifies first stored geometric information about one or more keys that can be made




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in response to verifying that the third security information corresponds to the first security

information, wherein the first stored geometric information includes the first geometric

information but does not include the second geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




       https://www.youtube.com/watch?v=G2FP2r90chI

       96.     Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       97.     Upon information and belief, the hardware processor of the Accused Product’s

first kiosk receives the first geometric information from the storage device using the first

communication network interface based on the verification that the third security information

corresponds to the first security information. As shown below, the kiosk receives the digital

key’s geometric information as evidenced by the fact that the kiosk cuts a physical duplicate of

the key.




       https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI

       98.     The MinuteKey kiosk likewise receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




       https://www.minutekey.com/ (MinuteKey)

       99.     The Accused Product’s first kiosk contains a first key shaping device that creates

a third key based on the first geometric information, including the first key’s key type and bit

heights. As shown below, the KeyKrafter cuts a physical duplicate of the key.




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       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

       100.   Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




       https://www.minutekey.com/ (MinuteKey)

       101.   The Accused Product contains a second kiosk comprised of a second

communication network interface and a third hardware processor. As shown below, the KeyHero

system works with and among multiple kiosks at a variety of locations. Also shown below is a

KeyKrafter kiosk with an interface that allows communication.




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     https://www.mykeyhero.com/




     https://www.youtube.com/watch?v=NVbxayF26uA (KeyKrafter)




     https://www.mykeyhero.com/faq/if-i-back-up-my-keys-at-one-location-can-i-cut-them-
     at-a-different-merchant-store.html




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     https://www.mykeyhero.com/faq/what-happens-if-there-is-limited-or-no-cellular-
     connection-to-the-keykrafter.html

     102.   Likewise, the MinuteKey kiosk has an interface that allows communication.




     https://www.minutekey.com/ (MinuteKey)




     https://www.mykeyhero.com/faq/if-i-back-up-my-keys-at-one-location-can-i-cut-them-
     at-a-different-merchant-store.html




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       103.    The hardware processor of the Accused Product’s second kiosk receives fourth

security information, wherein the fourth security information corresponds to the second

identifying information but not the first identifying information. As shown below, a specific

KeyKrafter kiosk is paired with a user’s personal KeyHero application using a secure pin number

that ensures the kiosk identifies the correct user and digital key copy.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI


       104.    Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       105.      Upon information and belief, the hardware processor of the Accused Product’s

second kiosk verifies that the fourth security information corresponds to the second identifying

information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




       https://www.youtube.com/watch?v=G2FP2r90chI




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        106.   Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.




        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        107.   Upon information and belief, the hardware processor of the Accused Product’s

second kiosk identifies second stored geometric information about one or more keys that can be

made in response to verifying that the fourth security information corresponds to the second

security information, wherein the second stored geometric information includes the second

geometric information but does not include the first geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




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       https://www.youtube.com/watch?v=G2FP2r90chI

       108.    Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       109.    Upon information and belief, the hardware processor of the Accused Product’s

second kiosk receives the second geometric information from the storage device using the

second communication network interface based on the verification that the fourth security




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information corresponds to the second security information. As shown below, the kiosk receives

the digital key’s geometric information as evidenced by the fact that the kiosk cuts a physical

duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       110.    The MinuteKey kiosk likewise receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




       https://www.minutekey.com/ (MinuteKey)

       111.   The Accused Product’s second kiosk contains a second key shaping device that

creates a fourth key based on the second geometric information, including the second key’s key

type and bit heights. As shown below, the KeyKrafter cuts a physical duplicate of the key.




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      https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

      112.    Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




      https://www.minutekey.com/ (MinuteKey)

      113.    Claim 19 of the ’468 Patent claims a method for creating keys, the method

comprising:

              receiving, at a first kiosk, first security information specified by a first particular
              user and identifying the first particular user;

              capturing, using a key scanner of the first kiosk, first geometric information about
              a first key;

              automatically determining a key type of the first key from a plurality of known
              key types based on the first geometric information about the first key;




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           automatically determining bit heights of the first key based on the first geometric
           information about the first key;

           causing, using a first hardware processor of the first kiosk, the first geometric
           information, including the key type of the first key and the bit heights of the first
           key, and first identifying information based on the first security information to be
           stored at a remote storage device;

           receiving, at the first kiosk, second security information specified by a second
           user and identifying the second particular user;

           capturing, using the key scanner of the first kiosk, second geometric information
           about a second key;

           automatically determining a key type of the second key from the plurality of
           known key types based on the second geometric information about the second
           key;

           automatically determining bit heights of the first key based on the second
           geometric information about the second key;

           causing, using the first hardware processor of the first kiosk, the second geometric
           information, including the key type of the second key and the bit heights of the
           second key, and second identifying information based on the second security
           information to be stored at the remote storage device;

           receiving, using a second hardware processor of a second kiosk, third security
           information, wherein the third security information corresponds to the first
           identifying information but not the second identifying information;

           verifying, using the second hardware processor, that the third security information
           corresponds to the first identifying information;

           identifying, using the second hardware processor, first stored geometric
           information about one or more keys that can be made in response to verifying that
           the third security information corresponds to the first identifying information,
           wherein the first stored geometric information includes the first geometric
           information but does not include the second geometric information;

           receiving, using the second hardware processor, the first geometric information
           from the remote storage device based on the verification that the third security
           information corresponds to the first security information;

           creating a third key using the first geometric information, including the key type
           of the first key and the bit heights of the first key;




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               receiving, using a third hardware processor of a third kiosk, fourth security
               information, wherein the fourth security information corresponds to the second
               identifying information but not the first identifying information;

               verifying, using the third hardware processor, that the fourth security information
               corresponds to the second identifying information;

               identifying, using the third hardware processor, second stored geometric
               information about one or more keys that can be made in response to verifying that
               the fourth security information corresponds to the second identifying information,
               wherein the second stored geometric information includes the second geometric
               information but does not include the first geometric information;

               receiving, using the third hardware processor, the second geometric information
               from the remote storage device based on the verification that the fourth security
               information corresponds to the second security information; and

               creating a fourth key using the second geometric information, including the key
               type of the second key and the bit heights of the second key.

       114.    The Accused Product contains each of the above limitations.

       115.    The Accused Product utilizes a method for creating keys.




       https://www.mykeyhero.com/

       116.    The Accused Product receives, at a first kiosk, first security information specified

by a first particular user and identifying the first particular user. As shown below, the user enters

security information into the KeyKrafter kiosk to identify the user.




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       117.   As shown below, a user likewise enters security information into the MinuteKey

kiosk with KeyHero compatibility to identify the user.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       118.   The Accused Product captures, using a key scanner of the first kiosk, first

geometric information about a first key. As shown below, the user puts their key into the

KeyKrafter kiosk so that a scanner can capture the key’s geometric information.




       https://www.mykeyhero.com/




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     https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)




     https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




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       https://www.mykeyhero.com/how-to/

       119.   Likewise, the user can put their key into the MinuteKey kiosk so that a scanner

can capture the key’s geometric information.




       https://www.mykeyhero.com/




       https://www.minutekey.com/ (MinuteKey)




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       120.    Upon information and belief, the Accused Product automatically determines a key

type of the first key from a plurality of known key types based on the first geometric information

about the first key. As shown below, the KeyKrafter kiosk determines the key type after the key

is inserted into the machine.




       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)

       121.    Likewise, the MinuteKey kiosk determines the key type after the key is inserted

into the machine.



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       https://www.minutekey.com/ (MinuteKey)




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       122.    Upon information and belief, the Accused Product automatically determines bit

heights of the first key based on the first geometric information about the first key. As shown

below, on information and belief the KeyKrafter kiosk determines the bit heights of the key as

evidenced by the fact that the kiosk later cuts a physical copy of the key based on digital

information.




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       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.mykeyhero.com/

       123.    Likewise, the MinuteKey kiosk determines the key’s bit heights after the key is

inserted into the machine.




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       https://www.minutekey.com/ (MinuteKey)

       124.    The Accused Product causes, using a first hardware processor of the first kiosk,

the first geometric information, including the first key’s key type and bit heights, and first

identifying information based on the first security information to be stored at a remote storage

device. As shown below, the KeyHero system stores, on servers, the digital keys created from

the KeyKrafter and MinuteKey kiosks that work in conjunction with the KeyHero system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html

       125.    The Accused Product receives, at the first kiosk, second security information

specified by a second user and identifying the second particular user. As shown below, a user

enters security information into the KeyKrafter kiosk to identify the user.




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       126.   A user likewise enters security information into the MinuteKey kiosk with

KeyHero compatibility to identify the user.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       127.   The Accused Product captures, using the key scanner of the first kiosk, second

geometric information about a second key. As shown below, the user puts their key into the

KeyKrafter kiosk so that a scanner can capture the key’s geometric information.




       https://www.mykeyhero.com/




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     https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)




     https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




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       https://www.mykeyhero.com/how-to/

       128.   Likewise, the user can put their key into the MinuteKey kiosk so that a scanner

can capture the key’s geometric information.




       https://www.mykeyhero.com/




       https://www.minutekey.com/ (MinuteKey)




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       129.    Upon information and belief, the Accused Product automatically determines a key

type of the second key from the plurality of known key types based on the second geometric

information about the second key. As shown below, the KeyKrafter kiosk determines the key

type after the key is inserted into the machine.




       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)

       130.    Likewise, the MinuteKey kiosk determines the key type after the key is inserted

into the machine.




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         https://www.minutekey.com/ (MinuteKey)




         (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

         131.   Upon information and belief, the Accused Product automatically determines bit

heights of the second2 key based on the second geometric information about the second key. As


2
  This claim element contains a typographical error. The claim element currently states,
“…automatically determining bit heights of the first key based on the second geometric
information about the second key” (italics added). The language of “first key” should state
“second key” so that the claim element reads “…automatically determining bit heights of the
second key based on the second geometric information about the second key” (correction in
italics). KeyMe expects this error will be remedied during claim construction. Thus, KeyMe
applies the correct reading of the claim element here.


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shown below, on information and belief the KeyKrafter kiosk determines the bit heights of the

key as evidenced by the fact that the kiosk later cuts a physical copy of the key based on digital

information.




       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.mykeyhero.com/


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       132.    Likewise, the MinuteKey kiosk determines the key’s bit heights after the key is

inserted into the machine.




       https://www.minutekey.com/ (MinuteKey)

       133.    Upon information and belief, the Accused Product causes, using the first

hardware processor of the first kiosk, the second geometric information, including the second

key’s key type and bit heights, and second identifying information based on the second security

information to be stored at the remote storage device. As shown below, the KeyHero system

stores, on servers, the digital keys created from the KeyKrafter and MinuteKey kiosks that work

in conjunction with the KeyHero system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html




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       134.    The Accused Product receives, using a second hardware processor of a second

kiosk, third security information, wherein the third security information corresponds to the first

identifying information but not the second identifying information. As shown below, a specific

KeyKrafter kiosk is paired with a user’s personal KeyHero application using a secure pin number

that ensures the kiosk identifies the correct user and digital key copy.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       135.    Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




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        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        136.     Upon information and belief, the Accused Product verifies, using the second

hardware processor, that the third security information corresponds to the first identifying

information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




        https://www.youtube.com/watch?v=G2FP2r90chI

        137.     Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.


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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       138.    Upon information and belief, the Accused Product identifies, using the second

hardware processor, first stored geometric information about one or more keys that can be made

in response to verifying that the third security information corresponds to the first identifying

information, wherein the first stored geometric information includes the first geometric

information but does not include the second geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




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       https://www.youtube.com/watch?v=G2FP2r90chI

       139.    Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       140.    Upon information and belief, the Accused Product receives, using the second

hardware processor, the first geometric information from the remote storage device based on the

verification that the third security information corresponds to the first security information. As

shown below, the kiosk receives the digital key’s geometric information as evidenced by the fact

that the kiosk cuts a physical duplicate of the key.




                                                 93
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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       141.    The MinuteKey kiosk likewise receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




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     (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




     https://www.minutekey.com/ (MinuteKey)




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       142.    The Accused Product creates a third key using the first geometric information,

including the first key’s key type and bit heights. As shown below, the KeyKrafter kiosk cuts a

physical duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

       143.    Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




       https://www.minutekey.com/ (MinuteKey)




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       144.    The Accused Product receives, using a third hardware processor of a third kiosk,

fourth security information, wherein the fourth security information corresponds to the second

identifying information but not the first identifying information. As shown below, a specific

KeyKrafter kiosk is paired with a user’s personal KeyHero application using a secure pin number

that ensures the kiosk identifies the correct user and digital key copy.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       145.    Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




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        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        146.     Upon information and belief, the Accused Product verifies, using the third

hardware processor, that the fourth security information corresponds to the second identifying

information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




        https://www.youtube.com/watch?v=G2FP2r90chI

        147.     Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       148.    Upon information and belief, the Accused Product identifies, using the third

hardware processor, second stored geometric information about one or more keys that can be

made in response to verifying that the fourth security information corresponds to the second

identifying information, wherein the second stored geometric information includes the second

geometric information but does not include the first geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




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       https://www.youtube.com/watch?v=G2FP2r90chI

       149.    Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       150.    Upon information and belief, the Accused Product receives, using the third

hardware processor, the second geometric information from the remote storage device based on

the verification that the fourth security information corresponds to the second security

information. As shown below, the kiosk receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       151.    The MinuteKey kiosk likewise receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




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      (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




      https://www.minutekey.com/ (MinuteKey)




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       152.    The Accused Product creates a fourth key using the second geometric

information, including the second key’s key type and bit heights. As shown below, the

KeyKrafter kiosk cuts a physical duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

       153.    Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




       https://www.minutekey.com/ (MinuteKey)

       154.    Claim 34 of the ’468 Patent claims a method for creating keys, the method

comprising:

               receiving, using a first hardware processor, first geometric information about a
               first key from a first source, wherein the first geometric information includes a


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            first key type of the first key and first bit heights of the first key determined based
            on geometric information about the first key captured at the first source;

            receiving, using the first hardware processor, first identifying information
            identifying a first user based on first security information specified by the first
            particular user;

            causing, using the first hardware processor, the first geometric information and
            first identifying information based on the first security information to be stored in
            a storage device coupled to the first hardware processor;

            receiving, using the first hardware processor, second geometric information about
            a second key from a second source, wherein the second geometric information
            includes a second key type of the second key and second bit heights of the second
            key determined based on geometric information about the second key captured at
            the second source;

            receiving, using the first hardware processor, second identifying information
            identifying a second particular user based on second security information
            specified by the second particular user;

            causing, using the first hardware processor, the second geometric information and
            second identifying information based on the second security information to be
            stored in the storage device coupled to the first hardware processor;

            receiving, using a second hardware processor, third security information, wherein
            the third security information corresponds to the first identifying information but
            not the second identifying information;

            verifying, using the second hardware processor, that the third security information
            corresponds to the first identifying information;

            identifying, using the second hardware processor, first stored geometric
            information of one or more keys that can be made in response to verifying that the
            third security information corresponds to the first identifying information,
            wherein the first stored geometric information includes the first geometric
            information but does not include the second geometric information;

            receiving, using a first communication network interface coupled to the second
            hardware processor, the first geometric information from the storage device based
            on the verification that the third security information corresponds to the first
            security information;

            creating a third key based on the first geometric information, including the first
            key type and the first bit heights, received by the second hardware processor;




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             receiving, using a third hardware processor, fourth security information, wherein
             the fourth security information corresponds to the second identifying information
             but not the first identifying information;

             verifying, using the third hardware processor, that the fourth security information
             corresponds to the second identifying information;

             identifying, using the third hardware processor, second stored geometric
             information of one or more keys that can be made in response to verifying that the
             fourth security information corresponds to the second identifying information,
             wherein the second stored geometric information includes the second geometric
             information but does not include the first geometric information;

             receiving, using a second communication network interface coupled to the third
             hardware processor, the second geometric information from the storage device
             based on the verification that the fourth security information corresponds to the
             second security information; and

             creating a fourth key based on the second geometric information, including the
             second key type and the second bit heights, received by the third hardware
             processor.

      155.   The Accused Product contains each of the above limitations.

      156.   The Accused Product utilizes a method for creating keys.




      https://www.mykeyhero.com/




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       157.    The Accused Product receives, using a hardware processor, first geometric

information about a first key from a first source, wherein the first geometric information includes

a first key’s key type and bit heights determined based on geometric information about the first

key captured at the first source. As shown below, the user puts their key into the KeyKrafter

kiosk so that a scanner can capture the key’s geometric information, which includes the key’s

key type and bit heights as a physical duplicate of the key is later cut based on this received

geometric information. On information and belief, this geometric information is also received by

the server processor.




       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)




       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)


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      https://www.youtube.com/watch?v=G2FP2r90chI




      https://www.mykeyhero.com/




      https://www.mykeyhero.com/how-to/



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       158.    Likewise, the user can put their key into the MinuteKey kiosk so that a scanner

can capture the key’s geometric information. On information and belief, this geometric

information is also received by the server processor.




       https://www.mykeyhero.com/




       https://www.minutekey.com/ (MinuteKey)




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       159.    The Accused Product receives, using the first hardware processor, first identifying

information identifying a first user based on first security information specified by the first

particular user. As shown below, the user enters information into the KeyKrafter kiosk to

identify the user. On information and believe, this identifying information is also received by the

Accused Product’s server processor.




       https://www.youtube.com/watch?v=G2FP2r90chI



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       https://www.youtube.com/watch?v=G2FP2r90chI

       160.    As shown below, a user likewise enters information into the MinuteKey kiosk to

identify the user. On information and belief, this identifying information is also received by the

Accused Product’s server processor.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019




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       161.   Upon information and belief, the Accused Product causes, using the first

hardware processor, the first geometric information and first identifying information based on

the first security information to be stored in a storage device coupled to the first hardware

processor. As shown below, the KeyHero system stores, on servers, the digital keys created from

the KeyKrafter and MinuteKey kiosks that work in conjunction with the KeyHero system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html




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       162.    The Accused Product receives, using the hardware processor, second geometric

information about a second key from a second source, wherein the second geometric information

includes a second key’s key type and bit heights determined based on geometric information

about the second key captured at the second source. As shown below, the user puts their key into

the KeyKrafter kiosk so that a scanner can capture the key’s geometric information, which

includes the key’s key type and bit heights as a physical duplicate of the key is later cut based on

this received geometric information. On information and belief, this geometric information is

also received by the server processor.




       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)




       https://www.youtube.com/watch?v=G2FP2r90chI (annotations added) (KeyKrafter)



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      https://www.youtube.com/watch?v=G2FP2r90chI




      https://www.mykeyhero.com/




      https://www.mykeyhero.com/how-to/




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       163.    Likewise, the user can put their key into the MinuteKey kiosk so that a scanner

can capture the key’s geometric information.         On information and belief, this geometric

information is also received by the server processor.




       https://www.mykeyhero.com/




       https://www.minutekey.com/ (MinuteKey)




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       164.    The Accused Product receives, using the first hardware processor, second

identifying information identifying a second particular user based on second security information

specified by the second particular user. As shown below, a user enters information into the

KeyKrafter kiosk to identify the user. On information and belief this identifying information is

also received by the server processor.




       https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI

       165.    As shown below, a user likewise enters information into the MinuteKey kiosk to

identify the user. On information and belief this identifying information is also received by the

server processor.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




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       166.    Upon information and belief, the Accused Product causes, using the first

hardware processor, the second geometric information and second identifying information based

on the second security information to be stored in the storage device coupled to the first

hardware processor. As shown below, the KeyHero system stores, on servers, the digital keys

created from the KeyKrafter and MinuteKey kiosks that work in conjunction with the KeyHero

system.




       https://www.mykeyhero.com/faq/where-is-the-information-stored.html

       167.    The Accused Product receives, using a second hardware processor, third security

information, wherein the third security information corresponds to the first identifying

information but not the second identifying information. As shown below, a specific KeyKrafter

kiosk is paired with a user’s personal KeyHero application using a secure pin number that

ensures the kiosk identifies the correct user and digital key copy.




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      https://www.youtube.com/watch?v=G2FP2r90chI




      https://www.youtube.com/watch?v=G2FP2r90chI




      https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI


       168.      Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       169.      Upon information and belief, the Accused Product verifies, using the second

hardware processor, that the third security information corresponds to the first identifying

information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




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        https://www.youtube.com/watch?v=G2FP2r90chI

        170.   Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.




        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        171.   Upon information and belief, the Accused Product identifies, using the second

hardware processor, first stored geometric information of one or more keys that can be made in

response to verifying that the third security information corresponds to the first identifying

information, wherein the first stored geometric information includes the first geometric


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information but does not include the second geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




https://www.youtube.com/watch?v=G2FP2r90chI

       172.    Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




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       173.    Upon information and belief, the Accused Product receives, using a first

communication network interface coupled to the second hardware processor, the first geometric

information from the storage device based on the verification that the third security information

corresponds to the first security information. As shown below, the KeyKrafter kiosk receives the

digital key’s geometric information as evidenced by the fact that the kiosk cuts a physical

duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI



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       174.    The MinuteKey kiosk likewise receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




       https://www.minutekey.com/ (MinuteKey)




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       175.   The Accused Product creates a third key based on the first geometric information,

including the first key’s key type and bit heights, received by the second hardware processor. As

shown below, the KeyKrafter kiosk cuts a physical duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

       176.   Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




       https://www.minutekey.com/ (MinuteKey)




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       177.    The Accused Product receives, using a third hardware processor, fourth security

information, wherein the fourth security information corresponds to the second identifying

information but not the first identifying information. As shown below, a specific KeyKrafter

kiosk is paired with a user’s personal KeyHero application using a secure pin number that

ensures the kiosk identifies the correct user and digital key copy.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI




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       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       178.    Likewise, a specific MinuteKey kiosk is paired with a user’s personal KeyHero

application using a secure pin number that ensures the kiosk identifies the correct user and digital

key copy.




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       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       179.      Upon information and belief, the Accused Product verifies, using the third

hardware processor, that the fourth security information corresponds to the second identifying

information. As shown below, the user must enter the correct pin number for the KeyKrafter

kiosk to work.




       https://www.youtube.com/watch?v=G2FP2r90chI




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        180.   Likewise, the user must enter the correct pin number for the MinuteKey kiosk to

work.




        (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

        181.   Upon information and belief, the Accused Product identifies, using the third

hardware processor, second stored geometric information of one or more keys that can be made

in response to verifying that the fourth security information corresponds to the second

identifying information, wherein the second stored geometric information includes the second

geometric information but does not include the first geometric information. As shown below, the

KeyKrafter kiosk identifies digital copies of keys associated with the specific user.




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https://www.youtube.com/watch?v=G2FP2r90chI

       182.    Upon information and belief, the MinuteKey kiosk likewise identifies the digital

keys associated with the specific user, as evidenced by the fact that the kiosk gives the user the

option to print a physical duplicate of a saved key.




       (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)

       183.    Upon information and belief, the Accused Product receives, using a second

communication network interface coupled to the third hardware processor, the second geometric

information from the storage device based on the verification that the fourth security information




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corresponds to the second security information. As shown below, the kiosk receives the digital

key’s geometric information as evidenced by the fact that the kiosk cuts a physical duplicate of

the key.




       https://www.youtube.com/watch?v=G2FP2r90chI




       https://www.youtube.com/watch?v=G2FP2r90chI

       184.    The MinuteKey kiosk likewise receives the digital key’s geometric information as

evidenced by the fact that the kiosk cuts a physical duplicate of the key.




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      (Photo taken at the Fairfax, Virginia Lowes store on August 14, 2019)




      https://www.minutekey.com/ (MinuteKey)




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       185.    The Accused Product creates a fourth key based on the second geometric

information, including the second key’s key type and bit heights, received by the third hardware

processor. As shown below, the KeyKrafter kiosk cuts a physical duplicate of the key.




       https://www.youtube.com/watch?v=G2FP2r90chI (KeyKrafter)

       186.    Likewise, the MinuteKey kiosk cuts a physical duplicate of the key.




       https://www.minutekey.com/ (MinuteKey)

       187.    Upon information and belief, since at least December 22, 2017, Hillman had

knowledge of the ’468 Patent and has induced and continues to induce others to infringe at least

one claim of the ’468 Patent under 35 U.S.C. § 271(b) by, among other things, actively aiding


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and abetting others to infringe with specific intent or willful blindness, such others including, but

not limited to, Hillman’s retail customers and end users, whose use of the Accused Product

constitutes direct infringement of at least claims 1, 16, 19, and 34 of the ’468 Patent.

       188.    On December 22, 2017, Hillman submitted an information disclosure statement

(“IDS”) to the USPTO pursuant to its duty of candor to the USPTO during prosecution of U.S.

Patent Application No. 15/414,323. See Exhibit B. On that IDS, Hillman listed KeyMe’s U.S.

Patent Application No. 2013/0170693. Id. at 5. That KeyMe reference, which is the publication

of U.S. Patent Application No. 13/734,064, is from the same patent family as the ’468 Patent,

shares the same specification, and was filed on the same day as the ’468 Patent. On information

and belief, Hillman also had knowledge of the related ’468 Patent, which issued over three years

before Hillman submitted this IDS.

       189.    Alternatively, upon information and belief, Hillman had knowledge of the ’468

Patent since at least August 2018 when Hillman acquired Minute Key. Upon information and

belief, Minute Key had knowledge of the ’468 Patent since at least October 22, 2015. On

October 22, 2015, Minute Key submitted an IDS to the USPTO pursuant to its duty of candor to

the USPTO during prosecution of U.S. Patent Application No. 14/920,060. See Exhibit C. On

that IDS, Minute Key listed the ’468 Patent. Id. at 1. On information and belief, Minute Key

gained further awareness of the ’468 Patent during the Minute Key, Inc. v. KeyMe, Inc.

Minnesota litigation, which ended in late February 2017. Upon information and belief, Hillman

conducted diligence during the acquisition of Minute Key and learned of the ’468 Patent. In

addition, Minute Key’s knowledge of the ’468 Patent is attributable to Hillman after Hillman’s

acquisition of Minute Key in August 2018.




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       190.     Hillman’s pre-suit knowledge of the ’468 Patent is further demonstrated by the

June 3, 2019 Complaint that Hillman filed against KeyMe in the Eastern District of Texas, which

discusses the ’468 Patent. See The Hillman Group, Inc. v. KeyMe, Inc., Civil Action No. 2:19-

cv-209 (E.D. Tex.), D.I. 1, ¶¶ 51-53 (Exhibit D).

       191.    Hillman’s actions that aid and abet others, such as its retail customers and end

users, to infringe include advertising and marketing the Accused Product and providing

instruction materials, training, and services regarding the Accused Product.

       192.    Upon information and belief, Hillman is liable for contributory infringement of

the ’468 Patent under 35 U.S.C. § 271(c) for offering to sell and selling in the United States the

Accused Product to be especially made or adapted for use to infringe the ’468 Patent. The

Accused Product is a material component for use in practicing the ’468 Patent and is specifically

made and is not a staple article of commerce suitable for substantial non-infringing use.

       193.    As a consequence of each of Hillman’s direct and indirect infringement, both

literal and under the doctrine of equivalents, of the ’468 Patent, KeyMe has been, and continues

to be, damaged in an amount not yet determined and is entitled to recover damages pursuant to

35 U.S.C. § 284.

       194.    Upon information and belief, Hillman’s infringement of the ’468 Patent will

continue in the future, and KeyMe will continue to suffer damages as a consequence unless

Hillman’s infringing acts are enjoined by this Court.

       195.    Upon information and belief, Hillman’s infringement of the ’468 Patent has been,

and continues to be, willful. Since December 22, 2017, and certainly since August 2018, Hillman

knew of the ’468 patent. Despite this awareness, Hillman launched KeyHero in 2018-2019

knowing that it infringes the ’468 patent. KeyMe is entitled to enhanced damages.




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                                      DEMAND FOR JURY

       Plaintiff KeyMe demands a trial by jury of any and all causes of action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff KeyMe prays for the following relief:

       a.      An adjudication that Defendant Hillman has directly and indirectly infringed

the ’468 Patent either literally or under the doctrine of equivalents;

       b.      An accounting of all infringing sales and damages including, but not limited to,

those sales and damages not presented at trial;

       c.      An adjudication that Hillman, its officers, directors, agents, servants, employees,

attorneys, affiliates, divisions, branches, parents, and those persons in active concert or

participation with any of them, be permanently restrained and enjoined from directly infringing

the ’468 Patent;

       d.      An award of damages pursuant to 35 U.S.C. § 284 sufficient to compensate

KeyMe for Hillman’s past infringement, including compensatory damages;

       e.      An assessment of pre-judgment and post-judgment interest and costs against

Hillman, together with an award of such interest and costs, in accordance with 35 U.S.C. § 284;

       f.      An adjudication that Hillman’s infringement has been willful and an award of

treble damages;

       g.      An adjudication that Hillman be directed to pay enhanced damages, including

KeyMe’s attorneys’ fees incurred in connection with this lawsuit pursuant to 35 U.S.C. § 285;

and

       h.      An award to KeyMe of such other and further relief as this Court may deem just

and proper.




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                                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                       /s/ Michael J. Flynn

                                       Michael J. Flynn (#5333)
                                       Jeffrey J. Lyons (#6437)
OF COUNSEL:                            1201 North Market Street
                                       P.O. Box 1347
Michael G. Rhodes                      Wilmington, DE 19899
COOLEY LLP                             (302) 658-9200
101 California Street, 5th Floor       mflynn@mnat.com
San Francisco, CA 94111-5800           jlyons@mnat.com
(415) 693-2000
                                       Attorneys for Plaintiff KeyMe, LLC
Stephen Smith
Rose S. Whelan
COOLEY LLP
1299 Pennsylvania Avenue, NW
Suite 700
Washington, DC 20004
(202) 842-7800

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